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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                        Chapter you are filing under:
                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                    Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                            12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Edwin                                                           Ann
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        X.                                                              M.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Vicioso                                                         Anderson
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have Edwin Xavier Vicioso
     used in the last 8 years                                                                      Ann M. Vicioso
                              Edwin Vicioso
                                                                                                   Ann Margaret Anderson
     Include your married or  Edwin Xavier Vicioso, MD
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9453                                                     xxx-xx-4705
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Edwin X. Vicioso
Debtor 2   Ann M. Anderson                                                                            Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 41 Chatsworth Avenue
                                 Larchmont, NY 10538
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Westchester
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                       I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Edwin X. Vicioso
Debtor 2    Ann M. Anderson                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                    Chapter 11
                                  Chapter 12
                                  Chapter 13


8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the
                                  No.
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy
    cases pending or being
                                  No
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




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Debtor 1    Edwin X. Vicioso
Debtor 2    Ann M. Anderson                                                                                Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?
                                    Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                    No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).             No.       Code.

                                    Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                    No.
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Edwin X. Vicioso
Debtor 2    Ann M. Anderson                                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               Icounseling
                                           received a briefing from an approved credit              Icounseling
                                                                                                        received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                          agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.                                              Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                              Disability.                                              Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                              Active duty.                                             Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Edwin X. Vicioso
Debtor 2    Ann M. Anderson                                                                               Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that         Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                No
     are paid that funds will
     be available for                       Yes
     distribution to unsecured
     creditors?

18. How many Creditors do         1-49                                           1,000-5,000                                25,001-50,000
    you estimate that you                                                         5001-10,000                                50,001-100,000
    owe?                          50-99
                                  100-199                                        10,001-25,000                              More than100,000
                                  200-999

19. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your assets to       $50,001 - $100,000                                                                         $1,000,000,001 - $10 billion
    be worth?                                                                     $10,000,001 - $50 million
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

20. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your liabilities     $50,001 - $100,000                                                                         $1,000,000,001 - $10 billion
    to be?                                                                        $10,000,001 - $50 million
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Edwin X. Vicioso                                              /s/ Ann M. Anderson
                                 Edwin X. Vicioso                                                  Ann M. Anderson
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     April 25, 2019                                    Executed on     April 25, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Edwin X. Vicioso
Debtor 2   Ann M. Anderson                                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Nicholas A. Pasalides                                          Date         April 25, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Nicholas A. Pasalides
                                Printed name

                                Reich Reich & Reich, P.C.
                                Firm name

                                235 Main Street, Suite 450
                                White Plains, NY 10601-2421
                                Number, Street, City, State & ZIP Code

                                Contact phone     914-949-2126                               Email address         reichlaw@reichpc.com
                                4941696 NY
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                     Edwin X. Vicioso
                              First Name                    Middle Name                     Last Name

 Debtor 2                     Ann M. Anderson
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                     amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                   Unsecured claim
 1                                                                   What is the nature of the claim?              Legal fees                      $ $2,751.88
              AHNEMANS KIRBY, LLC
              1171 EAST PUTNAM AVENUE                                As of the date you file, the claim is: Check all that apply
              STE 1A                                                        Contingent
              RIVERSIDE, CT 06878                                           Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
              Contact                                                        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              Credit card debt                $ $7,292.41
              CAPITAL ONE
              ATTN: BANKRUPTCY                                       As of the date you file, the claim is: Check all that apply
              PO BOX 30285                                                  Contingent
              SALT LAKE CITY, UT 84130                                      Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
              Contact                                                        Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              Page 1

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 Debtor 1          Edwin X. Vicioso
 Debtor 2          Ann M. Anderson                                                                  Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 3                                                                   What is the nature of the claim?              Credit card debt                $ $44,344.19
            CHASE
            PO BOX 15298                                             As of the date you file, the claim is: Check all that apply
            WILMINGTON, DE 19850                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Credit card debt                $ $25,473.53
            CHASE
            PO BOX 15298                                             As of the date you file, the claim is: Check all that apply
            WILMINGTON, DE 19850                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Credit card debt                $ $17,234.86
            CHASE
            PO BOX 15298                                             As of the date you file, the claim is: Check all that apply
            WILMINGTON, DE 19850                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Legal fees                      $ $51,122.26
            CUDDY & FEDER LLP
            445 HAMILTON AVE, 14TH                                   As of the date you file, the claim is: Check all that apply
            FLOOR                                                           Contingent
            WHITE PLAINS, NY 10601                                          Unliquidated
                                                                            Disputed
                                                                            None of the above apply



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 2

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 Debtor 1          Edwin X. Vicioso
 Debtor 2          Ann M. Anderson                                                                  Case number (if known)


                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Legal fees                      $ $0.00
            D.F. McGUIRE & ASSOCIATES,
            LLC                                                      As of the date you file, the claim is: Check all that apply
            777 WESTCHESTER AVE, STE                                        Contingent
            101                                                             Unliquidated
            WHITE PLAINS, NY 10604                                          Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Credit card debt                $ $14,562.00
            DISCOVER BANK
            PO BOX 30416                                             As of the date you file, the claim is: Check all that apply
            SALT LAKE CITY, UT 84130                                        Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              2019 Ford Explorer              $ $15,494.00
                                                                                                                   500 miles
            FORD MOTOR CREDIT
            PO BOX 542000                                            As of the date you file, the claim is: Check all that apply
            OMAHA, NE 68154                                                 Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                 $ $53,247.00
                                                                                    Value of security:                               - $ $37,753.00
            Contact phone                                                           Unsecured claim                                    $ $15,494.00




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              Page 3

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 Debtor 1          Edwin X. Vicioso
 Debtor 2          Ann M. Anderson                                                                  Case number (if known)

 10                                                                  What is the nature of the claim?                                              $ $823.00
            GEORGETOWN UNIVERSITY
            3700 O STREET NW                                         As of the date you file, the claim is: Check all that apply
            WASHINGTON, DC 20057                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              2014 taxes for trust            $ $14,677.25
                                                                                                                   fund
            INTERNAL REVENUE SERVICE
            PO BOX 7346                                              As of the date you file, the claim is: Check all that apply
            PHILADELPHIA, PA 19101-7346                                     Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Medical Services                $ $250.00
            MONTEFIORE NEW ROCHELLE
            16 GUION PLACE                                           As of the date you file, the claim is: Check all that apply
            NEW ROCHELLE, NY 10801                                          Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              Legal fees                      $ $2,427.60
            MURTHA CULLINA, LLP
            DEPT. 101011                                             As of the date you file, the claim is: Check all that apply
            PO BOX 150435                                                   Contingent
            HARTFORD, CT 06115-0435                                         Unliquidated
                                                                            Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 4

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 Debtor 1          Edwin X. Vicioso
 Debtor 2          Ann M. Anderson                                                                  Case number (if known)


                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              Education loan                  $ $204,484.15
            NAVIENT
            ATTN: CLAIMS DEPT                                        As of the date you file, the claim is: Check all that apply
            PO BOX 9500                                                     Contingent
            WILKES BARRE, PA 18773                                          Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              Promissory Note                 $ $100,000.00
            RICHARD PURTELL
            6 PETE'S WAY                                             As of the date you file, the claim is: Check all that apply
            PELHAM, NH 03076                                                Contingent

                                                                             Unliquidated

                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              Legal fees in                   $ $19,234.15
                                                                                                                   connection with the
                                                                                                                   Owens vs. Anderson,
                                                                                                                   et al. action
            WAID LAW OFFICE, PLLC
            5400 CALIFORNIA AVE SW, STE                              As of the date you file, the claim is: Check all that apply
            D                                                               Contingent
            SEATTLE, WA 98136                                               Unliquidated
                                                                            Disputed
                                                                            None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No
            Contact                                                          Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 5

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 Debtor 1          Edwin X. Vicioso
 Debtor 2          Ann M. Anderson                                                                  Case number (if known)

 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Edwin X. Vicioso                                                             X   /s/ Ann M. Anderson
       Edwin X. Vicioso                                                                     Ann M. Anderson
       Signature of Debtor 1                                                                Signature of Debtor 2


       Date      April 25, 2019                                                             Date     April 25, 2019




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 6

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of New York
             Edwin X. Vicioso
 In re       Ann M. Anderson                                                                                   Case No.
                                                                                  Debtor(s)                    Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                28,203.00
              Prior to the filing of this statement I have received                                        $                28,203.00
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               See annexed Chapter 11 retainer agreement.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 25, 2019                                                              /s/ Nicholas A. Pasalides
     Date                                                                        Nicholas A. Pasalides
                                                                                 Signature of Attorney
                                                                                 Reich Reich & Reich, P.C.
                                                                                 235 Main Street, Suite 450
                                                                                 White Plains, NY 10601-2421
                                                                                 914-949-2126 Fax: 914-949-1604
                                                                                 reichlaw@reichpc.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
            Edwin X. Vicioso
 In re      Ann M. Anderson                                                                          Case No.
                                                                                   Debtor(s)         Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: April 25, 2019                                                   /s/ Edwin X. Vicioso
                                                                        Edwin X. Vicioso
                                                                        Signature of Debtor

 Date: April 25, 2019                                                   /s/ Ann M. Anderson
                                                                        Ann M. Anderson
                                                                        Signature of Debtor




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                           AHNEMANS KIRBY, LLC
                           1171 EAST PUTNAM AVENUE STE 1A
                           RIVERSIDE, CT 06878


                           BANK OF AMERICA
                           BANKRUPTCY DEPT. NC4-105-02-40
                           4161 PIEDMONT PARKWAY
                           GREENSBORO, NC 27420-6012


                           BMW FINANCIAL SERVICES
                           PO BOX 3608
                           DUBLIN, OH 43016-0306


                           BMW FINANCIAL SERVICES
                           PO BOX 3608
                           DUBLIN, OH 43016-0306


                           CAL AUTOMOTIVE
                           300 HORIZON DRIVE STE 308
                           HAMILTON, NJ 08691


                           CAL AUTOMOTIVE
                           300 HORIZON DRIVE STE 308
                           HAMILTON, NJ 08691


                           CAPITAL ONE
                           ATTN: BANKRUPTCY
                           PO BOX 30285
                           SALT LAKE CITY, UT 84130


                           CHASE
                           PO BOX 15298
                           WILMINGTON, DE 19850


                           CHASE
                           PO BOX 15298
                           WILMINGTON, DE 19850


                           CHASE
                           PO BOX 15298
                           WILMINGTON, DE 19850


                           CUDDY & FEDER LLP
                           445 HAMILTON AVE, 14TH FLOOR
                           WHITE PLAINS, NY 10601
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                       D.F. MCGUIRE & ASSOCIATES, LLC
                       777 WESTCHESTER AVE, STE 101
                       WHITE PLAINS, NY 10604


                       DISCOVER BANK
                       PO BOX 30416
                       SALT LAKE CITY, UT 84130


                       EDWIN X. VICIOSO, MD PC
                       41 CHATSWORTH AVENUE
                       LARCHMONT, NY 10538


                       FORD MOTOR CREDIT
                       PO BOX 542000
                       OMAHA, NE 68154


                       GEORGETOWN UNIVERSITY
                       3700 O STREET NW
                       WASHINGTON, DC 20057


                       GORDON THOMAS HONEYWELL LLP
                       1201 PACIFIC AVENUE, STE 2100
                       TACOMA, WA 98402


                       INTERNAL REVENUE SERVICE
                       PO BOX 7346
                       PHILADELPHIA, PA 19101-7346


                       LEE T. OWENS
                       PO BOX 7012
                       TACOMA, WA 98417


                       LISA USAVICH
                       55 ROBIN ROAD
                       POUGHKEEPSIE, NY 12601


                       LISA USAVICH
                       55 ROBIN ROAD
                       POUGHKEEPSIE, NY 12601


                       LOUIS ANDERSON
                       41 CHATSWORTH AVENUE
                       LARCHMONT, NY 10538
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                       M&T BANK
                       PO BOX 62182
                       BALTIMORE, MD 21264-2182


                       MONTEFIORE NEW ROCHELLE
                       16 GUION PLACE
                       NEW ROCHELLE, NY 10801


                       MURTHA CULLINA, LLP
                       DEPT. 101011
                       PO BOX 150435
                       HARTFORD, CT 06115-0435


                       NAVIENT
                       ATTN: CLAIMS DEPT
                       PO BOX 9500
                       WILKES BARRE, PA 18773


                       PAUL ANDERSON
                       41 CHATSWORTH AVENUE
                       LARCHMONT, NY 10538


                       PIONEER CREDIT RECOVERY, INC.
                       PO BOX 500
                       HORSEHEADS, NY 14845


                       RICHARD PURTELL
                       6 PETE'S WAY
                       PELHAM, NH 03076


                       STEWART A. MCMILLAN, ESQ
                       244 WESTCHESTER AVE STE 410
                       WHITE PLAINS, NY 10604


                       WAID LAW OFFICE, PLLC
                       5400 CALIFORNIA AVE SW, STE D
                       SEATTLE, WA 98136
